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 UNITED STATES DISTRICT COURT                     This2liy of February, 2013.
 SOUTHERN DISTRICT OF GEORGIA
     STATESBORO DIVISION

CHARLES ANTHONY WILLIS,

Movant,

V.                    6: 12-cv-89

UNITED STATES OF AMERICA,
                                                  Y
                                                  B.ANT EDENFIELD, JGE /
                                                         TATESDISTRICT COUPJ
                                                  SOUTHERN DISTRICT OF GEORGIA



Respondent.

                   ORDER
        After a careful de novo review of the
record in this case, the Court concurs with the
Magistrate Judge's Report and
Recommendation, to which objections have
been filed. Accordingly, the Report and
Recommendation of the Magistrate Judge is
ADOPTED as the opinion of the Court.
        Willis has come back to the well over
and over. He has a long history of
entanglement in the criminal justice system,
and machinating his way through that system
to evade harsh punishments. Willis has
zealously pursued his rights to appeal and
seek post-conviction remedies in this case,
and, as a result, the Court is imminently
familiar with the facts. The Court has taken
into consideration his assistance to the
government, but the Court also takes into
consideration Willis's participation in the
criminal activity at issue. That iniquity
cannot go unnoticed. The well from which
Willis seeks to draw relief has run dry.
